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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


United States of America,

             Plaintiff,
v.                                            Case No. 19–cr–20425
                                              HON. BERNARD A. FRIEDMAN

Mario Jackson,

          Defendant.
 ______________________________________________________________

                       Defendant’s Motion in Limine
           to Suppress Information Obtained from Jail Phone Call

      Defendant moves this Honorable Court, pursuant to the Fourth

Amendment of the United States Constitution and the Federal Rules of Criminal

Procedure, Rule 12(b)(3)(C), for an order excluding all evidence illegally obtained

by the recording of Defendant’s cell phone call with an inmate.

      Respectfully submitted,
                                              Dated: January 9, 2023
      /s/Mark H. Magidson
      MARK H. MAGIDSON(P25581)
      Attorney for Defendant
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                      Certificate Regarding Concurrence


      I certify and affirm, in compliance with E.D. Mich. LR 7.1(a)(2)(A), that

there was a conference between the attorneys of record in which the movant

explained the nature of the motion or request and its legal basis and requested but

did not obtain concurrence in the relief sought.



/s/Mark H. Magidson
MARK H. MAGIDSON(P25581)
Attorney for Defendant




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                               Brief in Support of
                         Defendant’s Motion in Limine
             to Suppress Information Obtained from Jail Phone Call



                                        Facts

        Defendant Jackson is charged with a 12-count indictment alleging five

counts of crimes of violence in violation of the Hobbs Act, five counts of using or

carrying a firearm during and in relation to a crime of violence, being a felon in

possession of a firearm, as well as other allegations.

        The government intends to introduce evidence obtained from recording a

phone call from an inmate in the Michigan Department of Corrections that was

made to a telephone number attributed to Jackson’s cell phone where Jackson was

stating he was at Tappers Jewelry store. The Government thereafter seized security

video from the Trappers store that purports to show Jackson on the phone.

Jackson moves to suppress all evidence obtained from the recording of his phone

call.


                                      Argument


        The Fourth Amendment protects “[t]he right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and

seizures.” The U.S. Supreme Court has recognized that the “basic purpose of this


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Amendment” “is to safeguard the privacy and security of individuals against

arbitrary invasions by governmental officials.” Carpenter v. United States, 138 S. Ct.

2206, 2213 (2018) (citation omitted). “[T]he Fourth Amendment governs not only

the seizure of tangible items, but extends as well to the recording of oral

statements.” Katz v. United States, 389 U.S. 347, 353, 88 S. Ct. 507, 512 (1967)

(citation omitted).

       “It is well-established that a defendant claiming that a search violated his

Fourth Amendment rights has the burden of demonstrating that he had a

legitimate expectation of privacy in the place that was searched.” United States v.

Talley, 275 F.3d 560, 563 (6th Cir. 2001) (citation omitted).

       A court must conduct a two-part analysis when considering whether a

legitimate expectation of privacy exists. First, the court must ask “whether the

individual, by his conduct, has exhibited an actual expectation of privacy; that is,

whether he has shown that he sought to preserve something as private.” Bond v.

United States, 529 U.S. 334, 338, 120 S. Ct. 1462, 146 L. Ed. 2d 365 (2000) (internal

citation omitted). Second, the court must “inquire whether the individual's

expectation of privacy is one that a society is prepared to recognize as reasonable.”

Id. (citation omitted).

       First, this is not a case where Defendant Jackson was a prisoner at the time

his phone call was recorded. He was called by a prisoner, and he was not even


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indicted at the time. Any penalogical interests the government may have in

recording a prisoner’s phone calls and infringing a prisoner’s Fourth Amendment

rights has not been demonstrated as a sufficient reason for recording Jackson and

using that recording against him.

       In Turner v. Safley, 482 U.S. 78, 89, 107 S. Ct. 2254, 96 L. Ed. 2d 64 (1987),

the Supreme Court held that “when a prison regulation impinges on inmates'

constitutional rights, the regulation is valid if it is reasonably related to a legitimate

penalogical interest.”

       The defense could not find any cases where courts have applied the U.S.

Supreme Court’s legitimate penological interest test in Turner to the violation of a

non-inmate's constitutional rights. Long v. Cty. of Saginaw, Case No. 12-cv-15586,

ECF No. 35, PageID.522, 2014 U.S. Dist. LEXIS 63533, pp. 16-19 (E.D. Mich.

May 8, 2014) (cited for persuasion). “[W]hen the Sixth Circuit has considered the

Fourth Amendment rights of visitors in penitentiaries, the Sixth Circuit has not

used the Turner analysis to determine whether the legitimate penological interests

override a visitor's Fourth Amendment constitutional rights.” Id. at 523 (citation

omitted).

       Jackson had a reasonable expectation of privacy in his cell phone call, even

though he was talking to an inmate. The Supreme Court has held that a warrant is

required to obtain cell phone data. Riley v. California, 573 U.S. 373, 385-86, 134 S.


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Ct. 2473, 2484-85 (2014). The Supreme Court also held that electronically

recording a person’s conversation made in a telephone booth violated a reasonable

expectation of privacy and constituted a search and seizure within the meaning of

the Fourth Amendment. Katz, 389 U.S. at 353.

      Jackson was speaking on his cell phone to an inmate. In that conversation,

Jackson mentioned to the caller that he was at a jewelry store at the Summerset

Mall in Troy Michigan. Thereafter, agents for the Government searched and seized

security videos from or near the Tappers store. The conversation was not

intended for any other person other than Jackson and the inmate. The Supreme

Court’s decisions have established that society is prepared to recognize a

reasonable expectation of privacy in a person’s cell phone calls.



      WHEREFORE, Defendant moves this Honorable Court for an order

excluding at trial all evidence illegally obtained by the recording of Defendant’s cell

phone call with an inmate.




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      Respectfully submitted,

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      Dated: January 9, 2023




                                Certificate of Service


      I certify that on January 9, 2023, I electronically filed the above Motion with

the Clerk of the Court using the CM/ECF system, which served the document(s)

to the parties of record.


      /s/Mark H. Magidson
      MARK H. MAGIDSON(P25581)
      Attorney for Defendant




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